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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CONSOLIDATED ACTION

                                                         Case No. 18-62758-CIV-DIMITROULEAS
                                                                      (Consolidated cases)

   IN RE: MARJORY STONEMAN DOUGLAS
   HIGH SCHOOL SHOOTING FTCA LITIGATION
   _________________________________________/


    JOINT STATUS REPORT AND MOTION FOR STAY OF UPCOMING DEADLINES,
              OR ALTERNATIVELY, A THIRTY-DAY CONTINUANCE

          The parties in the above-captioned consolidated action submit the following joint status

   report to update the Court on their progress toward finalizing the global settlement and to seek a

   stay of all upcoming deadlines or, alternatively, a thirty-day continuance.

          On November 22, 2021, the parties jointly informed the Court that they had reached a

   global agreement to settle all of the claims at issue in these consolidated actions. ECF No. 408.

   In a joint status report, filed on December 20, 2021, Plaintiffs acknowledged that they had not

   yet finalized how to allocate the global settlement among themselves. ECF No. 425. The parties

   also had yet to finalize the terms of the Stipulations for Compromise Settlement and Release

   (“Stipulations”). The Government could not send Plaintiffs the Stipulations for their signatures

   until the terms were finalized and allocations were complete. Without a final agreement as to the

   amount to be paid to each Plaintiff in exchange for the dismissal of their respective action, the

   Court concluded that the parties had only reached a “partial settlement at best.” ECF No. 427.
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   As a result, the parties’ request for a continuance was denied, the Court scheduled the bench trial

   to commence on February 28, 2022, and all other deadlines remained unchanged.1 Id.

          Since the parties’ last status report, significant progress has been made towards finalizing

   the settlement and resolving the entire litigation. Most notably, Plaintiffs have agreed on their

   individual allocations of the total settlement amount and the parties have agreed to the terms of

   the Stipulations. Having received the Plaintiffs’ allocation amounts, the Government prepared

   the Stipulations for the forty cases and sent them to the respective Plaintiffs’ counsel. To date,

   the Government has received all thirty-eight (38) signed Stipulations that do not require approval

   from the Court and a guardian ad litem. For the two settlements that require approval from the

   Court and the appointed guardians ad litem (Feis and Hixon), counsel representing those two

   Plaintiffs has already obtained approval from the designated guardians ad litem (ECF Nos. 434,

   435, 438, 440) and petitioned the Court for approval of the settlements (ECF Nos. 457, 458).

   Having received all of the signed Stipulations that do not require court approval, the Government

   is in the process of requesting approval of the global settlement from the Associate Attorney

   General, conditioned on the Court approving the settlements in Feis v. United States, No. 20-cv-

   62472, and Hixon v. United States, No. 20-cv-62470.

          Moreover, the dispute amongst Plaintiffs’ counsel regarding common benefit fees has no

   bearing on the settlement with respect to the United States. The law firms moving for the fees

   have made clear that they do not seek any portion of any client’s net recovery. Consequently, all

   parties agree that the settlement should be finalized, and the Government’s disbursement of the

   total settlement amount and the Plaintiffs’ filing of dismissal papers, should occur without delay.



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             Under the terms of the Court’s modified Scheduling Order (ECF No. 411), Mandatory
   Pretrial Stipulations and Motions in Limine were due Friday, February 11, and trial is scheduled
   to commence February 28.

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          Because this settlement resolves all forty cases against the Government, the parties

   respectfully request a stay of upcoming deadlines, or alternatively, a thirty-day continuance,

   while the parties finalize this settlement. Such action by the Court will conserve the parties’

   resources and promote judicial economy.


   Dated: February 14, 2022                              Respectfully submitted,

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